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 5   ATTORNEY FOR DEFENDANT
     CHRISTOPHER WARREN
 6
 7               IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,      )               NO. CR. S-09-00121-FCD
10                                  )
          PLAINTIFF,                )               STIPULATION AND ORDER
11                                  )               CONTINUING THE STATUS
          v.                        )               CONFERENCE TO MONDAY
12                                  )               FEBRUARY 7, 2011
     CHRISTOPHER WARREN,            )
13                                  )
                                    )
14        DEFENDANT.                )
     ______________________________ )
15
16         The parties to this litigation, the Unites States of America, represented by
17   Assistant United States Attorney Mr. Russell L. Carlberg, and the defendant,
18   Christopher Warren, represented by his attorney, Mr. James R. Greiner, hereby agree
19   and stipulate that the current date set for the status conference, Monday, November 1,
20   2010, is can be vacated and can be rescheduled for Monday, February 7, 2010, at
21   10:00 a.m. in Courtroom #2 before the Honorable United States District Court Judge,
22   Frank C. Damrell, Jr..
23         The Court’s courtroom deputy, Ms. Michele Krueger, was contacted to ensure
24   the Court was available and the Court is available on Monday, February 7, 2011.
25         Further, all of the parties, the United States of America and the defendant agree
26   and stipulate that time under the Speedy Trial Act can be excluded under Title 18
27   section 3161(h)(7)(b)(ii) and section 3161(h)(7)(B)(iv), corresponding to Local code
28   T-2 (the complexity of the case) and Local Code T-4 (to allow counsel time to
                                                1
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 1   prepare) from Monday, May 17, 2010 to through and including Monday, July 19,
 2   2010.
 3                                 STATUS OF DISCOVERY
 4           In October, 2010, defense counsel received approximately 25,000 pages of
 5   discovery from the government. Within weeks, there is additional discovery from a
 6   laptop computer that will be produced by the government. Counsel for the defendant
 7   will be in a Federal trial during the month of November, 2010. Defense counsel
 8   represents that he requires the time between now and February 7, 2011, to review this
 9   material and to prepare the defense. The government accepts the representation of
10   defense counsel that he is diligently working on the case and requires this time.
11              EXCLUSION OF TIME UNDER THE SPEEDY TRIAL ACT
12           The parties agree and stipulate that with the government producing an
13   additional approximately 25,000 pages and shortly producing additional discovery
14   from a laptop computer and with defense counsel being in trial in the month of
15   November, and with the case having already been declared complex by the Court, the
16   interests of justice in granting this reasonable request for a continuance outweighs all
17   other interests in this case for a speedy trial in this case, pursuant to Title 18 section
18   3161(h)(7)(b)(ii) and section 3161(h)(7)(B)(iv), corresponding to Local code T-2 (the
19   complexity of the case) and Local Code T-4 (to allow counsel time to prepare) from
20   Monday, November 1, 2010 to through and including Monday, February 7, 2011.
21                                     Respectfully submitted,
22                                     BENJAMIN WAGNER
                                       UNITED STATES ATTORNEY
23
                                       /s/ Russell Carlberg by telephone authorization
24   DATED: 10-27-10                   _____________________________________
                                       Russell L. Carlberg
25                                     ASSISTANT UNITED STATES ATTORNEY
                                       ATTORNEYS FOR THE PLAINTIFF
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27
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 1
     DATED: 10-27-10                  /s/ James R. Greiner
 2                                    ___________________________________
                                      James R. Greiner
 3                                    Attorney for Defendant Christopher Warren
 4                                           ORDER
 5         Based upon the representations of counsel, the record in this case, and the
 6   agreements and stipulations between all counsel in the case, and that
 7         All parties agree and Stipulate that this Court can make the appropriate findings
 8   supported by the record in this case that this case is complex pursuant to the Speedy
 9   Trial Act, Title 18 U.S.C. section 3161(h)(7)(B)(ii) and local code T-2, which allows
10   the Court to make the finding that this case is so unusual or so complex, due to the
11   nature of the prosecution, and/or the existence of novel questions of fact or law,
12   and/or, the existence of the amount of discovery, that it is unreasonable to expect
13   adequate preparation for pretrial proceedings or the trial itself within the time limits
14   established by the Speedy Trial Act. In addition, the Court can make a finding from
15   the record in this case, that time shall also be excluded under local code T-4, that time
16   is to be excluded for the reasonable time necessary for effective preparation by
17   defense counsel and Title 18 U.S.C. section 3161(h)(7)(B)(iv), of the speedy trial act.
18         The Status Conference currently set for Monday, November 1, 2010, is
19   vacated, and the new Status Conference is set for Monday, February 7, 2011, with
20   time excluded under the Speedy Trial Act from Monday, November 1, 2010,
21   through to and including Monday, February 7, 2011, for the reasons agreed to and
22   stipulated by the parties and as stated herein.
23         FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
24   DATED: October 28, 2010
25
26                                           _______________________________________
27                                           FRANK C. DAMRELL, JR.
                                             UNITED STATES DISTRICT JUDGE
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